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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to:                     Judge M. Casey Rodgers
  All Cases                                     Magistrate Judge Hope T. Cannon


                                      ORDER

      On May 17, 2024, the Court entered Case Management Order (“CMO”) No.

91, which required 73 non-ledgering Primary Counsel firms to provide “information

on their attorney’s fees and expenses attributable to each Participating Claimant for

whom they serve as Primary Counsel in the Settlement Program” to the Settlement

Administrator, BrownGreer, by May 24, 2024. ECF No. 4051 at 2. As the Order

stressed, this information is critical to the Court’s visibility into the Claimant

payment process within the Settlement Program and, thus, the Court’s ability to

efficiently and effectively manage the Settlement Program.              According to

BrownGreer, six of the 73 Primary Counsel firms with obligations under CMO 91,

as listed on Exhibit A to this Order, failed to provide the required information by the

May 24th deadline.

      Accordingly, it is ORDERED that:

      1.     Primary Counsel on Exhibit A must provide the information required


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by CMO 91 by 1:00 p.m. Central Time on Wednesday, May 29, 2024.

     2.     Primary Counsel on Exhibit A must also show cause for why sanctions

should not be imposed for Counsel’s failure to submit the information required

under CMO 91 by the May 24th deadline. Responses from Primary Counsel are

due within 7 days of the date of this Order.

     3.     To the extent that Primary Counsel on Exhibit A do not comply with

either of the first two paragraphs of this Order, Primary Counsel will be considered

in violation of this Order and will be subject to sanctions.

     SO ORDERED, on this 28th day of May, 2024.



                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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